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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION


 ABBVIE INC.,

       Plaintiff,
                                                  Case No. 23 CV 2836
       v.
                                                  Judge Georgia N. Alexakis
 PAYER MATRIX, LLC,

       Defendant.


                    MEMORANDUM OPINION AND ORDER

      Plaintiff AbbVie, Inc. is a large pharmaceutical company that develops and

sells the specialty drugs Humira, Skyrizi, and Rinvoq. AbbVie operates charitable

programs to help patients afford the cost of its specialty drugs, including the Patient

Assistance Program (“PAP”) and Co-Pay Assistance Program (“CAP”). Defendant

Payer Matrix, LLC is an alternative funding provider that works with self-funded

health plans to lower their specialty drug costs. One way Payer Matrix achieves cost-

savings for these plans is by helping the plans’ members obtain specialty drugs via

pharmaceutical companies’ charitable programs, like AbbVie’s PAP and CAP.

      In January 2023, AbbVie began prohibiting individuals whose health plans are

associated with alternative funding providers, including Payer Matrix, from applying

to AbbVie’s PAP for assistance. Despite this policy change, AbbVie contends that

through at least December 2024, Payer Matrix continued to submit PAP and CAP

applications in violation of federal and state laws.
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       AbbVie further contends that Payer Matrix has tortiously interfered with

AbbVie’s business relationships by attempting to convert patients to drugs sold by

other pharmaceutical companies with charitable programs still accessible by Payer

Matrix. Finally, AbbVie maintains that Payer Matrix makes false representations

related to a program called RxFree4Me that helps patients procure AbbVie-branded

specialty drugs from Canada, thereby damaging AbbVie’s reputation and customer

goodwill.

       AbbVie has moved for a preliminary injunction to halt Payer Matrix’s conduct

in all these respects. [249]. The Court held a three-day evidentiary hearing on the

motion in January 2025. [318]; [319]; [320]. For the reasons discussed below, AbbVie

has failed to meet its burden of persuasion, and the Court denies its motion for

injunctive relief.

                                        BACKGROUND

   A. AbbVie, Payer Matrix, and the Patient Assistance Program

       AbbVie is a large pharmaceutical company headquartered in Illinois that

develops the specialty drugs Humira, Skyrizi, and Rinvoq. [325] at 1 ¶ 1.1 At the

center of this dispute is AbbVie’s PAP. The PAP provides AbbVie specialty drugs—

including Humira, Skyrizi, and Rinvoq—to eligible patients at no cost. Id. at 1–2 ¶ 2.

To qualify for the program, patients are required to be underinsured or uninsured,


1 Following the evidentiary hearing, the parties filed proposed findings of fact and conclusions

of law, [325], [329], [332], and the Court draws from those submissions throughout this
opinion. Before citing to any particular finding of fact or conclusion of law, the Court reviewed
the underlying material upon which a party relied (e.g., exhibits, testimony, declarations,
etc.) and independently confirmed its accuracy. The Court also independently reviewed other
aspects of the record.
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demonstrate qualifying financial need, reside in the United States, and have a

prescription for an AbbVie drug from a licensed U.S. health care provider. Id.

      Payer Matrix is an alternative funding provider (“AFP”) whose clients are

employer-sponsored health plans. Id. at 3 ¶ 11. Payer Matrix works with employers

whose plans are self-funded, meaning that the employer itself (not a third-party

insurer) pays the medical and pharmacy claims submitted by the plan’s members and

bears the risk of fluctuating costs. [329] ¶ 3.

      Specialty drugs like Humira, Skyrizi, and Rinvoq tend to cost significantly

more than traditional brand or generic medications. Id. ¶ 11. To avoid its clients

bearing the full cost of these expensive drugs, Payer Matrix works to locate and obtain

“alternative funding” for specialty-drug takers. [325] at 3 ¶ 11. The PAPs offered by

pharmaceutical companies, including AbbVie, are one source of “alternative funding”

that Payer Matrix uses to save its clients money. Id. at 4 ¶ 13.

      Generally speaking, the process works as follows: Payer Matrix collaborates

with its clients to exclude specialty drugs from their members’ insurance coverage, if

those drugs are not already excluded. Id. at 5–6 ¶ 17. The plan amends its summary

plan description (“SPD”) to indicate the exclusion. [329] ¶ 12. Payer Matrix’s

Reimbursement Care Coordinators (“RCCs”) then assist plan members who take

specialty drugs in applying for charitable programs, like AbbVie’s PAP. [325] at 8

¶ 25. In these applications, Payer Matrix represents that the members are

responsible for 100% of their specialty drug costs, even though they are otherwise

commercially insured. Id. at 8 ¶ 26.



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      If a pharmaceutical company accepts a member into its PAP, it supplies the

specialty drugs at no cost to the plan or member. Id. at 1 ¶ 2. If the pharmaceutical

company rejects a member’s application, the plan usually provides an “override,”

meaning that the plan makes an exception to cover the specialty drug despite the

drug being originally excluded from coverage. Id. at 7 ¶ 20. Although it is a common

practice for a plan to issue overrides upon a PAP denial, some Payer Matrix clients

do not allow overrides as a matter of policy. [329] ¶ 28. Payer Matrix maintains that

it is the plan—not Payer Matrix—that ultimately decides whether it will provide an

override after a PAP denial. Id. ¶ 105. (In the same vein, Payer Matrix maintains

that the predicate decision to exclude a specialty drug from coverage is made by the

plan, not Payer Matrix. Id. ¶ 8.)

      In exchange for facilitating the members’ acceptance into the PAP, Payer

Matrix charges most clients a “cost-avoidance” fee, which is typically some percentage

of what the plan would have paid had it covered the drug at full cost. [325] at 4 ¶ 14;

see also [322] at 244:10–18.

      Payer Matrix began facilitating its members’ applications to AbbVie’s PAP as

early as 2018, and it submitted thousands of applications to the program between

2018 and 2022. [329] ¶¶ 49–50. During this period, Payer Matrix did not attempt to

conceal its role in the application process. Id. ¶ 50. For example, it often named itself

as a patient representative on PAP applications and openly communicated with

AbbVie representatives via phone and email. Id.




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   B. January 2023 Policy Changes to AbbVie’s PAP

      AbbVie eventually retained the Hayden Consulting Group (“Hayden”) to

research the growing number of PAP applicants and the impact of AFPs such as

Payer Matrix on the PAP program. [325] at 10–11 ¶¶ 37–38; [329] ¶ 56. In January

2022, Hayden recommended that AbbVie choose among three options to reduce the

number of patients eligible for the PAP. DX5 at 35–36. AbbVie could: (1) change the

PAP’s financial eligibility requirements, (2) close the program to all commercially

insured patients, or (3) deny coverage to applicants whose plans work with AFPs such

as Payer Matrix. Id.

      AbbVie chose option three. [329] ¶ 62. On January 2, 2023, it updated the PAP

eligibility terms on its website to contain the following limitation:

      Patients with commercial insurance plans requiring them to apply to
      myAbbVie Assist as a condition of, requirement for, or prerequisite to
      coverage of relevant AbbVie products commonly know[n] as alternate
      funding programs, are not eligible for myAbbVie Assist.

PX146 at 2.

      On January 30, 2023, AbbVie again updated its PAP eligibility terms, this time

identifying Payer Matrix and other AFPs by name on the PAP application itself. The

new terms read:

      Patients with insurance plans or employers participating in an alternate
      funding program (also sometimes referred to as patient advocacy
      programs, specialty networks, SHARx, Paydhealth, or Payer Matrix,
      among other names) requiring them to apply to a manufacturer’s patient
      assistance program or otherwise pursue specialty drug prescription
      coverage through an alternate funding vendor as a condition of,
      requirement for, or prerequisite to coverage of relevant AbbVie products,
      or that otherwise denies, restricts, eliminates, delays, alters, or
      withholds any insurance benefits or coverage contingent upon

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      application to, or denial of eligibility for, specialty drug prescription
      coverage through the alternate funding program are not eligible for the
      myAbbVie Assist program. You agree to inform myAbbVie Assist if you
      are a member of such an insurance plan or if you are applying to
      myAbbVie Assist on behalf of a patient who is a member of such an
      insurance plan.

DX206 at 4.

      In the period immediately following this change in policy, it is undisputed that

Payer Matrix took certain steps to conceal its involvement in PAP applications to

maximize the chances that its clients’ members would continue to be accepted into

the program. For example, in early January 2023, Jennifer Hoefner, who was then

Payer Matrix’s Vice President of Operations, sent an email telling RCCs that they

could still submit PAP applications so long as they blocked the fax number linking

the applications to Payer Matrix. PX199; [325] at 12 ¶ 44; see also [322] at 336:15–

20. As another example, in March 2023, Hoefner encouraged Payer Matrix colleagues

to ask the member or the member’s health care provider to submit applications to

AbbVie on their own (rather than via a Payer Matrix RCC). PX209; [325] at 12 ¶ 44;

[322] at 337:23–338:1. The next month, Payer Matrix also submitted documentation

to AbbVie using the fax machine of an affiliated pharmacy to avoid detection. [325]

at 12 ¶ 44; see also [322] at 341:1–8.

      The parties dispute whether Payer Matrix stopped submitting concealed PAP

applications on behalf of its clients’ members after May 2023. Compare [325] at 64

¶ 76, with [329] ¶ 76. The Court more fully addresses this dispute in the analysis that

follows.




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   C. Drug-Switching Activities

        In addition to the concealment efforts just discussed, Payer Matrix responded

to the January 2023 PAP policy change by attempting to convert plan members to

non-AbbVie alternatives so they could apply to those pharmaceutical companies’

PAPs. PX31; see also [256] ¶ 20 & Ex. 11 (Hay Declaration and accompanying

summary chart).

        In one February 2023 email, Payer Matrix’s Chief Business Officer, Michael

Jordan, referred to these drug-switching efforts as part of a “high-powered offensive

strategy” in the wake of AbbVie’s policy change. PX30 at 1; id. at 3 (further stating

that Payer Matrix would “[i]mmediately begin work with physician[s] through

clinical outreach to determine if Humira script can be changed to a product that has

available access options”). The next month, another Payer Matrix employee created

a fax template to send to providers, which read:

        Patients [sic] HUMIRA no longer has coverage under the patient’s plan
        benefits. We are also finding that assistance through the
        manufacture[r], ABBVIE, is no longer available for those with self-
        funded plans. Is there another alternative therapy you would like to try?
        Listed below are the medications/manufacturers that are on our
        formulary for Rheumatoid Arthritis, and [that] we work with regularly.

PX31.

        During the January 2025 evidentiary hearing, Hoefner, who is now Payer

Matrix’s CEO, testified that Payer Matrix ceased drug-switching activities—what she

referred to as “therapeutic conversion” and “therapeutic interchange”—when this suit

was filed in May 2023. [325] at 29 ¶ 110; [322] at 226:2–10, 350:4–14. For its part,

AbbVie maintains that it has identified “170 Payer Matrix patients who had been

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taking an AbbVie medicine between November 2022 and June 2023 and were

switched to an alternate medicine in 2023.” [256] ¶ 20 & Ex. 11; see also [325] at 29

¶ 110.

   D. AbbVie’s Copay Assistance Program

         In addition to the PAP, AbbVie operates a CAP. [325] at 3 ¶ 8. The CAP helps

patients with commercial insurance pay certain out-of-pocket expenses like co-pays

and annual deductibles, using a co-pay card that AbbVie loads with funds. Id.; [329]

¶ 91. Unlike the PAP, the CAP is available to patients regardless of their household

income. [325] at 3 ¶ 8.

         Like it did with AbbVie’s PAP, Payer Matrix used AbbVie’s CAP to save its

members and their clients costs on specialty drugs. Payer Matrix used a special

code—called “BRAFF”— that caused AbbVie’s co-pay cards to pay out more than they

otherwise would have by inflating patients’ cost-share obligations to be 85%, even

when the drugs were not covered at all by their plans. [322] at 409:15–410:11; see also

PX74 ¶¶ 31–32 (Happe declaration). Payer Matrix called this “maximizing” the co-

pay cards to exhaust all available funds from the program. [322] at 392:23–393:1;

PX76 at 2. Payer Matrix used the CAP when a member was denied PAP funding or

when a member needed to re-fill a specialty drug prescription while her PAP

application was pending. [322] at 392:23–393:1.

         At the hearing, Hoefner testified that Payer Matrix no longer provides services

related to the CAP. Id. at 387:25–388:4. She also testified that the last time Payer




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Matrix received a cost-avoidance fee from a plan sponsor related to its CAP-related

services was June 2023. Id. at 414:16–22; [329] ¶ 94.

   E. RxFree4Me and International Drug Sourcing

      In April 2024, Payer Matrix began to work with an international drug sourcing

company called RxFree4Me. [325] at 18 ¶ 67; [329] ¶ 109. Although RxFree4Me is not

itself a pharmacy, it works with Canadian pharmacies to source drugs to patients in

the United States. [329] ¶¶ 110, 113. Payer Matrix facilitates the sourcing process by

arranging for data-sharing between RxFree4Me and the patient’s provider, but Payer

Matrix does not itself arrange for international shipping and has no formal

agreement with RxFree4Me. Id. ¶¶ 108, 111, 115–16.

      The drugs sourced through RxFree4Me are indisputably AbbVie-brand drugs,

and Hoefner testified that they are acquired from the same manufacturers as AbbVie

drugs sold at U.S. pharmacies. [329] ¶ 121; [322] at 317:11–13. But because Canadian

AbbVie medicines are intended for sale only in Canada, they have not been approved,

nor are they regulated, by the U.S. Food and Drug Administration (“FDA”). [325] at

20 ¶ 74.

   F. Procedural History

      On May 5, 2023, AbbVie filed suit against Payer Matrix, alleging violations of

(1) the Illinois Consumer Fraud and Deceptive Business Practices Act, 815 ILCS 505

et seq., (2) the Illinois Uniform Deceptive Trade Practices Act, 815 ILCS 510 et seq.,

and (3) tortious interference with business opportunity. [1]. The claims in AbbVie’s

original complaint primarily focused on Payer Matrix’s conduct related to AbbVie’s



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PAP. Id. Later that month, AbbVie moved for a preliminary injunction pursuant to

Federal Rule of Civil Procedure 65, seeking to enjoin Payer Matrix from, among other

things, listing AbbVie drugs on its specialty drug list, submitting or causing the

submission of patient applications to AbbVie’s PAP, and being compensated for any

services related to AbbVie’s PAP. [21]. A hearing on AbbVie’s motion for a preliminary

injunction was scheduled to begin on January 18, 2024, following expedited discovery.

[54], [130].

       The month before the scheduled hearing, the district court previously assigned

to this case sua sponte questioned whether it had subject matter jurisdiction. [154].

Because AbbVie had only brought state law causes of action, it needed to establish

complete diversity of citizenship between the parties to obtain a federal forum. After

AbbVie responded to the district court’s inquiry with information about one of Payer

Matrix’s members that called diversity jurisdiction into question, [158] at 9, the

January 2024 preliminary injunction hearing was stricken [162]. Then, in March

2024, AbbVie moved for leave to file an amended complaint to add federal claims and

establish subject matter jurisdiction via 28 U.S.C. § 1331. [171]; [178].

       While AbbVie’s motion for leave to file an amended complaint was pending, the

case was reassigned to this Court’s docket. [215]. In September 2024, the Court

granted AbbVie’s motion for leave to file a first amended complaint. [229]. The

amended complaint added four counts under the Racketeer Influenced and Corrupt

Organizations Act, 18 U.S.C. § 1961 et seq., two counts under the Lanham Act, 15

U.S.C. § 1125(a)(1), and a common law fraud claim. See generally [233]. AbbVie also



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added new factual allegations regarding Payer Matrix’s involvement in AbbVie’s

CAP, in a drug-switching scheme, and the sourcing of specialty drugs from Canada

through RxFree4Me. Id. ¶¶ 113–20, 466–73.

      In October 2024, AbbVie filed a renewed motion for a preliminary injunction.

[249]. AbbVie seeks a broad injunction against Payer Matrix, which would prohibit

Payer Matrix from (1) using AbbVie’s name, drugs, and their trademarks in its

marketing materials, (2) representing that it works with AbbVie or has AbbVie’s

endorsement, (3) submitting applications, including through third parties, to

AbbVie’s PAP, (4) providing services related to AbbVie’s CAP, (5) making false

misrepresentations about AbbVie in its advertising and promotions, (6) suggesting

that it is facilitating the importation of drugs that are the same as FDA-approved

AbbVie drugs, and (7) otherwise facilitating the importation of AbbVie drugs from

any foreign country.

      The Court held an evidentiary hearing on the motion for a preliminary

injunction on January 29, 30, and 31, 2025. [318]–[320]. As already referenced, Payer

Matrix presented live testimony through its now-CEO, Hoefner. AbbVie presented

live testimony through Anne Najjar, Vice President of AbbVie Endocrinology. In

advance of the hearing, the parties submitted extensive supporting declarations and

exhibits, although in resolving AbbVie’s motion, the Court focuses primarily on the

live testimony and other evidence presented during the hearing.

                                LEGAL STANDARDS

      A preliminary injunction “is an extraordinary remedy never awarded as of

right.” Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 24 (2008). The Seventh
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Circuit applies a two-part test to determine whether a preliminary injunction is

appropriate. See Girl Scouts of Manitou Council, Inc. v. Girl Scouts of U.S. of Am.,

Inc., 549 F.3d 1079, 1085 (7th Cir. 2008), abrogated on other grounds by Nken v.

Holder, 556 U.S. 418, 434 (2009); see also Cassell v. Snyders, 990 F.3d 539, 544–45

(7th Cir. 2021). As a threshold matter, a party seeking a preliminary injunction must

show they will face irreparable harm, that traditional legal remedies would be

inadequate, and that the claim is likely to succeed on the merits. Girl Scouts, 549

F.3d at 1086. “If the court determines that the moving party has failed to demonstrate

any one of these three threshold requirements, it must deny the injunction.” Id.

(citing Abbott Labs. v. Mead Johnson & Co., 971 F.2d 6, 11 (7th Cir. 1992)). But if the

court finds that the moving party has passed this threshold phase, it proceeds to

balance “the irreparable harm that the moving party would endure without the

protection of the preliminary injunction against any irreparable harm the nonmoving

party would suffer if the court were to grant the requested relief.” Id. (citing Abbott

Labs, 971 F.2d at 11–12).

      To satisfy its burden on irreparable harm, AbbVie must show that it faces more

than a mere “possibility” of irreparable harm. See Winter, 555 U.S. at 22. Instead, the

“frequently reiterated standard requires plaintiffs seeking preliminary relief to

demonstrate that irreparable injury is likely in the absence of an injunction.” Id.

(citing Los Angeles v. Lyons, 461 U.S. 95, 103 (1983)); see also Michigan v. U.S. Army

Corps of Eng’rs, 667 F.3d 765, 788 (7th Cir. 2011). “Issuing a preliminary injunction

based only on a possibility of irreparable harm is inconsistent with [the Supreme



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Court’s] characterization of injunctive relief as an extraordinary remedy that may

only be awarded upon a clear showing that the plaintiff is entitled to such relief.”

Winter, 555 U.S. at 22 (citing Mazurek v. Armstrong, 520 U.S. 968, 972 (1997) (per

curiam)). Although “the alleged harm need not be occurring or be certain to occur

before a court may grant relief,” a plaintiff must show a “presently existing actual

threat.” Michigan, 667 F.3d at 788.

      The cessation of allegedly illegal conduct does not render a claim moot, but it

“may affect the ability to obtain injunctive relief, as by impacting the ability to show

substantial and irreparable injury.” Milwaukee Police Ass’n v. Jones, 192 F.3d 742,

748 (7th Cir. 1999) (citing United States v. W.T. Grant, 345 U.S. 629, 632–33 (1953)).

“The necessary determination is that there exists some cognizable danger of

recurrent violation, something more than the mere possibility which serves to keep

the case alive.” Id. (quoting W.T. Grant, 345 U.S. at 633).

                                      DISCUSSION

      AbbVie groups Payer Matrix’s allegedly wrongful conduct into four categories:

activities related to the PAP, activities related to the CAP, drug-switching activities,

and activities related to the sourcing of international drugs. See [251] at 5–12. Each




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of the legal claims AbbVie uses to support its motion for a preliminary injunction is

rooted in at least one of these four activities.2

       Because AbbVie’s motion for a preliminary injunction can be almost entirely

resolved based solely on its failure to persuasively establish irreparable harm, the

Court has organized its analysis by category of allegedly unlawful activity, examining

whether, based on the evidence presented, each type of activity is ongoing or presents

a threat of future harm to the degree required to warrant injunctive relief. The

primary exception to this approach concerns AbbVie’s allegations relating to Payer

Matrix’s participation in the sourcing of international drugs. There, the Court also

addresses the likelihood that AbbVie would succeed on the merits of the legal claims

associated with that category of activity.

   A. PAP Activities and Irreparable Harm

       As noted earlier, there is no dispute that Payer Matrix continued to submit

applications to AbbVie’s PAP after the January 2023 change in AbbVie policy. But

the parties vigorously contest how long after January 2023 Payer Matrix continued

to submit applications to AbbVie’s PAP, whether any such activity remains ongoing,




2 AbbVie’s ICFA and common law fraud claims are based on Payer Matrix’s PAP and CAP

activities. [325] at 58–62 ¶¶ 60–70. AbbVie’s Lanham Act false advertising claim is based on
Payer Matrix’s statements related to international drug sourcing; representations made on
Payer Matrix’s website and in plan sponsor presentations related to its PAP and CAP
services; and statements related to Payer Matrix’s drug-switching activities. Id. at 44–52
¶¶ 8–35. AbbVie’s Lanham Act false association claim is based on representations made in
plan sponsor presentations related to Payer Matrix’s PAP and CAP services. Id. at 53 ¶ 38.
AbbVie’s IDTPA claim is based on the same conduct as the Lanham Act violations, plus
conduct related to the international drug sourcing. Id. at 54–55 ¶¶ 44–45. Finally, AbbVie’s
tortious interference claim is based on Payer Matrix’s drug-switching and international drug
sourcing activities. Id. at 57–58 ¶¶ 52–53.
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and, even assuming Payer Matrix’s PAP-related activities have ceased, whether any

prospect of recurrence warrants injunctive relief.

      AbbVie maintains the practice is ongoing but that Payer Matrix has largely

managed to evade detection through improved concealment methods. E.g., [321] at

6:22–7:1. In support, AbbVie’s Najjar testified that AbbVie’s PAP team identifies and

rejects about 10 applications per month submitted by patients whose plans work with

Payer Matrix. Id. at 74:7–15. AbbVie also produced a spreadsheet of 126 PAP

applications submitted between July 2023 and December 2024 by patients whose

plans work with Payer Matrix. See PX54; [325] at 35 ¶ 133. In addition, AbbVie has

pointed to a November 2023 application that identifies a Payer Matrix RCC, Shelly

Powell, as the applicant’s “employer liaison.” PX56; [325] at 39 ¶ 147.

      After considering this evidence (as well as other evidence it turns to further

below), the Court is not persuaded that AbbVie has clearly shown that Payer Matrix’s

activities in connection with AbbVie’s PAP are ongoing or that Payer Matrix has

engaged in any PAP-related activities since May 2023. The Court is therefore not

persuaded that injunctive relief is warranted. Most significantly, although AbbVie

has produced evidence that some Payer Matrix-affiliated patients are still applying

to AbbVie’s PAP, it has provided little to no evidence that Payer Matrix itself played

a role in submitting these applications. Of the 126 applications AbbVie has

highlighted in support of its request for a preliminary injunction, AbbVie’s notes on

the applications (and corresponding witness testimony) indicate that they were

flagged by AbbVie as connected to Payer Matrix because: (1) the applicant used some



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AFP, (2) the applicant had used Payer Matrix in a prior application, or (3) the

pharmacy benefit manager, plan, or pharmacy associated with the application

worked with or had vaguely defined “ties” to Payer Matrix.3 [329] ¶ 87; PX54; [321]

at 174:23–187:5. None of this information indicates, however, that Payer Matrix

actively assisted these patients in submitting their PAP applications to AbbVie or

that Payer Matrix even knew the applications were being submitted. [321] at 174:23–

187:5. In addition, Najjar testified that AbbVie receives more than 200,000 PAP

applications per year. Id. at 174:16–18; [329] ¶ 131. Of the 126 applications to which

AbbVie points, only 67 were submitted in 2024. PX54; see also [321] at 174:19–22;

[329] ¶ 132. This miniscule number of applications, coupled with their tenuous

connections to Payer Matrix, falls short of clearly showing that irreparable injury is

likely in the absence of an injunction barring Payer Matrix from submitting

applications to AbbVie’s PAP. See Winter, 555 U.S. at 22.

         In denying AbbVie relief, the Court also relies on substantial evidence from

Payer Matrix that undercuts AbbVie’s theory of ongoing activity and irreparable

harm. After AbbVie produced its list of 126 PAP applications connected to Payer

Matrix, Payer Matrix’s Hoefner reviewed its communications related to the

individuals for whom those applications were submitted and concluded that Payer




3 For instance, AbbVie points to a May 2024 PAP application in which the applicant
submitted an SPD revealing that Payer Matrix worked with the member’s plan. [321] at 93:5–
94:4.
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Matrix was not involved in any of them.4 [329] ¶ 84; [273-19]. Hoefner testified to that

effect at the hearing and further testified that the last time her company assisted

with, or submitted an application to, AbbVie’s PAP was in May 2023. [322] at 270:9,

286:22–288:6. Payer Matrix took additional steps in mid-2023 to ensure its RCCs did

not engage with AbbVie’s PAP. For example, Hoefner testified that, as of July 2023,

Payer Matrix removed all AbbVie specialty drugs from its drug list. [322] at 288:25–

289:1. She further said that, as of September 2023, the company worked with its IT

team to disable RCCs’ ability to create AbbVie PAP applications within Payer

Matrix’s systems. Id. at 289:4–7. The Court also heard from Hoefner that as of July

2023, plans and pharmacy benefit managers no longer refer their members to Payer

Matrix for assistance with AbbVie’s PAP, see [329] ¶ 78, and that since July 2023,

Payer Matrix has not collected cost-avoidance fees for any newly submitted PAP

applications to AbbVie, id. ¶ 79.

       Hoefner’s testimony in these respects is credible. It is consistent with the lack

of affirmative evidence persuasively showing that Payer Matrix has helped submit

PAP applications since May 2023. As Hoefner testified, nothing can stop providers

and patients affiliated with Payer Matrix from submitting the publicly available

applications on their own, without Payer Matrix’s involvement. [322] at 389:8–


4 Before the hearing, AbbVie sought to exclude Hoefner’s testimony that Payer Matrix was

not involved in these 126 applications because Payer Matrix produced only some of the call
and text message summaries upon which Hoefner relied to reach that conclusion. [288]; [273-
19]. For the reasons it set forth when denying AbbVie’s motion, [317], the Court permitted
Hoefner to testify about the 126 applications (and be extensively cross-examined on the topic,
see [322] at 354:9–366:6), without requiring the additional production of documents before
the hearing. If new evidence comes to light during general discovery that casts doubt on
Hoefner’s sworn testimony, the Court can revisit the issue.
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390:11, 421:17–24. AbbVie even advertises its cost-savings programs broadly to the

public, including at the end of Super Bowl commercials for Skyrizi and Rinvoq. Id. at

414:11–15. The type of wholesale institutional efforts Hoefner described—e.g., Payer

Matrix’s decisions to remove all AbbVie specialty drugs from its drug list and disable

its RCCs’ ability to even create AbbVie PAP applications—persuade the Court that

what AbbVie’s PAP team is continuing to encounter, per Najjar, are independent

submissions from individuals loosely affiliated with Payer Matrix rather than a

coordinated, ongoing, undercover effort by Payer Matrix to circumvent AbbVie policy.

      With respect to the application listing RCC Powell’s name, Payer Matrix has

offered a plausible explanation: The member who submitted the application simply

copied Powell’s name from a previous application that Powell had helped the member

submit to a different manufacturer’s PAP. [329] ¶ 85; [322] at 367:24–368:6. The

Court finds this explanation credible for two reasons. First, the evidence shows that

the member’s plan already covered the AbbVie drug for which the member was

seeking PAP coverage, so Powell would have had no reason to submit a PAP

application to AbbVie. [329] ¶ 86; [322] at 295:19–21. Second, the member had

worked with Payer Matrix (and Powell in particular) for several years before

submitting this application, so it is quite believable that the member would have

listed Powell’s name out of habit based on this preexisting relationship. [329] ¶ 85.

      To be sure, AbbVie has also produced evidence that, on five occasions over an

11-month period (from October 2023 to September 2024), Payer Matrix RCCs

informed specialty-drug patients and/or their health care providers that they could



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submit a PAP application on their own via AbbVie’s website or through their provider,

thereby effectively encouraging Payer Matrix members to try and circumvent

AbbVie’s PAP policy. See [325] at 35 ¶ 134. And then, even more recently, in

December 2024, a Payer Matrix RCC provided a doctor with a benefits clarification

letter to submit with a PAP application after the RCC was “hounded with phone calls

from [the] provider.” [322] at 345:2–21; see also [325] at 36 ¶ 138. At the hearing,

Hoefner acknowledged these occurrences, see [322] at 345:2–21, 346:4–16, but also

testified that it is against Payer Matrix policy for RCCs to direct patients to apply on

their own and that she has personally given RCCs a directive not to do so, id. at

348:11–21.

      After considering the sum of these piecemeal occurrences, the Court still is not

persuaded that AbbVie has met its burden to show it faces more than a “possibility

of irreparable harm” in the absence of a preliminary injunction. See Winter, 555 U.S.

at 22. Put another way: Based on this handful of occasions—and weighed against

Hoefner’s testimony, including about the institutional changes Payer Matrix made in

2023—the Court cannot conclude that any harm to AbbVie is sufficiently pervasive

or irreparable to warrant the “extraordinary remedy” of a preliminary injunction. Id.

This is particularly true where AbbVie has proven capable of detecting members

whose plans are associated with AFPs, such as Payer Matrix, and denying those

members PAP benefits. See generally PX54. Although AbbVie has suggested that it

should not have to spend its energy and resources trying to uncover Payer Matrix-

related PAP applications, see, e.g., [321] at 39:7–20, 171:2–16, detecting fraud is a



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common cost of doing business. Even if these costs were compensable, such “increases

in the cost of doing business generally do not constitute irreparable harm because a

party can be compensated for such losses or increases at a later date.” Limacher v.

Hurd, No. 02CV477MCALCSACE, 2002 WL 35649841, at *6 (D.N.M. July 31, 2002);

see also WCG Clinical, Inc. v. Sitero, LLC, No. 1:24-CV-01080-JRS-MKK, 2025 WL

107662, at *7 (S.D. Ind. Jan. 15, 2025) (ordinary cost of doing business did not

constitute irreparable harm). The Court also anticipates that AbbVie would continue

to incur these detection-related costs even if a preliminary injunction were entered,

as AbbVie would almost certainly make the effort to monitor Payer Matrix’s

compliance. Emergency relief, in other words, would not spare AbbVie from incurring

expenses related to fraud-detection.

      Because AbbVie has failed to establish that Payer Matrix’s allegedly unlawful

PAP activities are ongoing, AbbVie must show some “presently existing actual threat”

that the conduct will recur. Michigan, 667 F.3d at 788; see also Catenacci v. Lightfoot,

No. 21 C 2852, 2021 WL 7708962, at *2 (N.D. Ill. June 18, 2021) (“Solely ‘past conduct’

… is no basis for a preliminary injunction. After all, in such cases, there is no conduct

to be enjoined.”) (internal citations omitted). Here, the Court is not persuaded that




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there is an actual threat that Payer Matrix will resume its conduct, even considering

its concealment efforts in the first half of 2023.5

       First, although Payer Matrix has never admitted its conduct through May 2023

was illegal, it has been upfront about its business model and the way in which that

model relies on the charitable programs of pharmaceutical manufacturers like

AbbVie. See generally DX38 (Hoefner declaration). Likewise, during the hearing,

Hoefner did not deny Payer Matrix’s attempts to conceal its continued involvement

for several months after the January 2023 policy change (although she did say Payer

Matrix was confused about the policy and argued that its intentions were pure in

trying to help members access needed drugs). See, e.g., [322] at 336:1–20; 337:23–

338:6; 341:6–8; 341:13–22. This degree of candor does not readily permit an

extrapolation that Payer Matrix will resume covert applications to AbbVie’s PAP.

       In addition, as discussed, Hoefner repeatedly testified under oath that Payer

Matrix’s PAP-related practices with respect to AbbVie ended as of May 2023, that

corporate policy is that Payer Matrix’s RCCs are not to assist members with PAP

applications, that Payer Matrix’s IT team has now made it impossible for an RCC to




5 AbbVie cites to a set of five factors the Seventh Circuit used in United States v. Benson, 561

F.3d 718, 724 (7th Cir. 2009), to determine whether an injunction was appropriate to prevent
ceased conduct from recurring. [325] at 65 ¶ 80. Benson, however, concerned whether the
district court had statutory authority to enter an injunction for a violation of 26 U.S.C. § 6700
for promoting an abusive tax shelter. 561 F.3d at 721. As far as the Court can tell, these
factors are not traditionally used to determine whether a party is likely to face irreparable
harm for an injunction granted pursuant to Rule 65. AbbVie also asks the Court to consider
whether Payer Matrix “ceased the challenged conduct for reasons unrelated to the litigation.”
[325] at 65 ¶ 80 (citing E.E.O.C. v. Flambeau, Inc., 846 F.3d 941, 949 (7th Cir. 2017)). The
Court does incorporate this factor in its analysis and recognizes that it weighs in AbbVie’s
favor.
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create an AbbVie PAP application in their system, and that Payer Matrix has

collected no cost avoidance fees for any newly submitted PAP applications to AbbVie

since July 2023. [322] at 252:3–7; 270:9; 274:18–21; 278:1–5, 289:4–7, 305:1–5. For

the reasons it has already given, the Court again credits this testimony from Hoefner,

which undermines AbbVie’s argument that Payer Matrix will resume its PAP-related

activities.

       AbbVie also argues that “Payer Matrix’s customary business activities involve

frequent interaction with AbbVie patients and create a strong threat of future

misconduct.” [325] at 67 ¶ 85. The Court disagrees that the very nature of Payer

Matrix’s business model creates a threat of recurring harm, evidence of cessation

notwithstanding. Payer Matrix’s business is not totally dependent on AbbVie’s PAP.

Indeed, AbbVie is only one of several drug manufacturers with charitable programs,

and Payer Matrix “encourages all underinsured Members to apply for any available

PAPs.” DX38 ¶ 28 (emphasis added); [322] at 413:2–12. Hoefner’s declaration also

describes that Payer Matrix seeks funding from other sources in addition to PAPs.

DX38 ¶ 10. And as described below, Payer Matrix now relies on international drug

sourcing to find cost-savings for clients. [329] ¶ 109.

       Lastly, AbbVie points out that once a court finds that a plaintiff is likely to

succeed on the merits of a Lanham Act claim, a plaintiff benefits from a rebuttable

presumption of irreparable harm. See 15 U.S.C. § 1116(a). That is, a court “assumes

irreparable harm, even if the plaintiff has proffered nothing in support.” Nichino Am.,

Inc. v. Valent U.S.A. LLC, 44 F.4th 180, 186 (3d Cir. 2022); see also Eli Lilly & Co. v.



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Nat. Answers, Inc., 233 F.3d 456, 469 (7th Cir. 2000). Here, even assuming AbbVie

could earn the presumption of irreparable harm by establishing a likelihood of

success on the merits of its Lanham Act claims, Payer Matrix has rebutted that

presumption by producing credible evidence that its PAP activities have ceased and

are unlikely to recur.

      Because AbbVie has presented insufficient evidence that Payer Matrix’s PAP

activities are ongoing or likely to recur, AbbVie has not met its burden to show it will

be irreparably harmed in the absence of a preliminary injunction. Therefore, to the

extent AbbVie’s motion for injunctive relief relies on PAP activities, the motion is

denied.

   B. CAP Activities and Irreparable Harm

      AbbVie next claims that Payer Matrix still relies on AbbVie’s CAP to help fund

its members’ specialty drugs. However, as with the PAP-related category of activity,

AbbVie has provided insufficient evidence that Payer Matrix’s CAP activities are

ongoing or that there is a threat of recurrence.

      The sole piece of evidence AbbVie points to is a May 2024 census report from

one Payer Matrix client suggesting that a single patient was approved for CAP funds

for a Skyrizi Pen. See PX179 at 22. When confronted with this evidence at the

hearing, Hoefner said she did not “know the circumstances around [the] particular

member” and speculated that the member “may have already had [a co-pay card].”

[322] at 390:23–25. Hoefner otherwise testified on several occasions that Payer

Matrix is no longer providing any services related to AbbVie’s CAP. Id. at 387:25–



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388:14. She further stated that the last time Payer Matrix received cost-avoidance

fees related to its CAP activities was June 2023. Id. at 414:23–415:1. The Court finds

this testimony credible, especially given the dearth of other incriminating evidence

that the CAP activities are ongoing. AbbVie has not made a clear showing of

irreparable harm based on one isolated instance—over a nearly 20-month period6—

of a Skyrizi patient potentially receiving CAP funds.

      For the same reasons just discussed in the context of PAP activities, the Court

is also not persuaded that a threat of recurrence exists in connection with the CAP

activities. Finally, as with the PAP activities, Payer Matrix has rebutted any

presumption of irreparable harm stemming from its CAP-related representations

that AbbVie might enjoy courtesy of the Lanham Act. As a result, to the extent

AbbVie’s motion for injunctive relief relies on CAP activities, the motion is denied.

   C. Drug-Switching Activities and Irreparable Harm

      Hoefner testified that Payer Matrix’s practice of therapeutic conversion ended

when this lawsuit was filed in May 2023, see [322] at 350:4–14, and AbbVie has

offered no evidence that persuasively rebuts this assertion or that supports a finding

that Payer Matrix will resume its allegedly unlawful drug-switching activities.

AbbVie only points to evidence indicating that some patients were switched from

AbbVie medicines to non-AbbVie medicines in June 2023, even though Payer Matrix

insists the practice ended the month before. See [256] Ex. 11. Without more, the Court

does not view this one-month discrepancy as persuasive evidence that the drug-


6 The Court calculates 20 months from May 2023 (when AbbVie filed its original complaint)

through January 2025 (when the preliminary injunction hearing took place).
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switching activities are occurring now, more than 20 months later, or that they are

likely to recur.

       Payer Matrix does admit that it tells health care providers about Humira

biosimilars that are available “at a fraction” of Humira’s cost. 7 [329] ¶¶ 100, 104.

Even so, Payer Matrix maintains it is the health care provider’s “clinical decision

whether or not to prescribe a different medication to their patient.” Id. at ¶ 103; see

also DX32 ¶ 20. In any case, a tortious interference claim based on the conversion of

members to Humira biosimilars is unlikely to succeed on the merits. To succeed on a

tortious interference claim, AbbVie must show it had a “reasonable expectation of

entering into a valid business relationship” with those patients who switched away

from Humira. Dowd & Dowd, Ltd. v. Gleason, 181 Ill. 2d 460, 484 (1998). Yet AbbVie

cannot reasonably expect members to remain on Humira when a biosimilar is

available at a much lower price. See DX34 ¶ 26 (Payer Matrix expert Vincent Jackson

declaring that biosimilar substitution “is both common and essential for cost

management and patient care optimization”).

       As a result, to the extent AbbVie’s request for injunctive relief is based on

Payer Matrix’s drug-switching activities, AbbVie’s request is denied.




7 “Biosimilar” refers to a biologic product that is “highly similar to, and has no clinically

meaningful difference from, an existing FDA approved biologic,” DX32 at 7, whereas
“therapy” refers to a different medicine altogether, [325] at 29 ¶ 110. Although many
biosimilars are available for Humira, [329] ¶ 100, there is no biosimilar available for Rinvoq
or Skyrizi, [325] at 29 ¶ 110.
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   D. International Drug Sourcing

      For the final category of conduct—Payer Matrix’s allegedly unlawful

international drug sourcing activities—the Court assesses both whether AbbVie is

likely to succeed on the merits of its legal claims and whether AbbVie is likely to

experience irreparable harm as a result of Payer Matrix’s conduct. The two inquiries

are inextricably intertwined: To show that it will experience irreparable harm in the

absence of an injunction ordering Payer Matrix to cease sourcing drugs from

international outlets, AbbVie first must show that statements concerning those

sourcing efforts and supporting its Lanham Act claims are “materially false or

misleading.” Eli Lilly & Co. v. Arla Foods, Inc., 893 F.3d 375, 381–82 (7th Cir. 2018).

To state a claim under the IDTPA, AbbVie likewise must show that Payer Matrix’s

statements    concerning    sourcing   “create[]   a   likelihood   of   confusion   or

misunderstanding” and that Payer Matrix is “likely to be damaged” as a result. See

815 ILCS 510/2–3. AbbVie’s tortious interference claim is similarly premised on

Payer Matrix’s alleged false and misleading marketing. [233] ¶ 581. Therefore, in

examining this category of conduct, the Court first discusses whether AbbVie is likely

to succeed on the merits of its claims before turning to irreparable harm.

      1. Likelihood of Success on the Merits

      Three of AbbVie’s claims are at least partially based on its allegations

concerning Payer Matrix’s sourcing of international drugs via RxFree4Me: (1) its

Lanham Act false representation claim, (2) its IDTPA claim, and (3) its tortious

interference claim. The Court addresses each in turn.



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              a. Lanham Act False Advertising

       To prevail on a Lanham Act false advertising claim, a plaintiff must establish

that “(1) the defendant made a material false statement of fact in a commercial

advertisement; (2) the false statement actually deceived or had the tendency to

deceive a substantial segment of its audience; and (3) the plaintiff has been or is likely

to be injured as a result of the false statement.” Eli Lilly, 893 F.3d at 381–82 (citing

Hot Wax, Inc. v. Turtle Wax, Inc., 191 F.3d 813, 819 (7th Cir. 1999)). A plaintiff may

satisfy the first element by presenting either a literally false statement or a statement

that is “literally true but misleading.” Id. For the latter, “the plaintiff ordinarily must

produce evidence of actual consumer confusion,” but “hard evidence of actual

consumer confusion” is not required at the preliminary injunction stage. Id.

       In support of its Lanham Act claim, AbbVie challenges two Payer Matrix

statements related to drug sourcing. First, it points to a line in a Medication

Management Proposal slide sent to one of Payer Matrix’s clients. PX85 at 2. Under

“Sourcing Methods Summary,” the slide reads: “International Sourcing - legitimate

and valid sources.” Id.

       One problem for AbbVie, though, is that this statement is not in a “commercial

advertisement”; instead, it appears in a proposal personalized for a single potential

client. The circumstances here are thus far different from the circumstances at issue

in Neuros Co. v. KTurbo, Inc., 698 F.3d 514, 522 (7th Cir. 2012), where the defendant

presented negative promotional materials to most of a niche industry’s customers

during a road show. In addition, each slide of the proposal says “Proprietary and



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Confidential” in the footer—the opposite of what one would expect to see in a

commercial advertisement directed at the purchasing public. See Rovanco Piping

Sys., Inc. v. Perma-Pipe Int’l Holdings, Inc., No. 21 C 3522, 2022 WL 683690, at *7

(N.D. Ill. Mar. 8, 2022) (commercial advertising must be “sufficiently disseminated to

the relevant purchasing public”).

      A second problem is that AbbVie has not shown the statement is literally false

or likely to be misleading. AbbVie says the statement is literally false because the

imported drugs are not FDA-approved and their importation violates the Food, Drug,

and Cosmetics Act (“FDCA”). [325] at 45 ¶¶ 9–10. But generic words such as

“legitimate” and “valid” cannot reasonably be construed as synonymous with “FDA-

approved” or “FDCA-compliant.” Nor is the use of those words so “bald-faced,

egregious, undeniable, [and] over the top” to be considered literally false under the

Lanham Act. See Eli Lilly, 893 F.3d at 382.

      The second statement AbbVie relies on comes from a slide titled “About

RxFree4Me,” which says that “[m]embers receive their same brand medications.”

JX13 at 2. AbbVie has not identified the source of this slide or to whom it was

disseminated. See [321] at 191:21–192:16 (Najjar testifying that she does not know

where the slide came from, who it was given to, or where it was presented). Without

such information, the Court declines to find that the statement was, in fact, made in

a commercial advertisement.

      Even if it were commercial in nature, the statement that members receive the

“same brand medications” is not literally false or likely to mislead. It is undisputed



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that members using RxFree4Me received AbbVie-branded medications from Canada.

See PX130 ¶ 25 (AbbVie’s Anne Robinson, who serves as the company’s vice president

of immunology global regulatory strategy, declaring that “Canadian-Approved

AbbVie Medicines have the same brand names as U.S. AbbVie”); [321] at 191:1–8

(Najjar testifying that Canada sells drugs with “the AbbVie brand on them”). The

Court is unconvinced that a reasonable person would understand “same brand” to

mean “same regulatory approval process.” To the extent AbbVie’s Lanham Act claim

in connection with international drug sourcing activities again relies on the fact that

the internationally sourced drugs are not FDA-approved, the Court has not been

presented with evidence that Payer Matrix makes this representation. Rather, Payer

Matrix does not hide that these drugs are sourced from Canadian pharmacies. For

example, the line just below the “same brand” statement says that the drugs are

sourced “from 23 Canadian pharmacies.” JX13 at 2 (emphasis added).

      In sum, AbbVie has not pointed to a Payer Matrix statement that is both

commercial and literally false or misleading. To the extent its motion for injunctive

relief relies on statements Payer Matrix made related to international drug sourcing,

AbbVie is unlikely to succeed on the merits.

             b. Tortious Interference

      To prevail on a tortious interference claim, a plaintiff must prove: “(1) his

reasonable expectation of entering into a valid business relationship; (2) the

defendant’s knowledge of the plaintiff’s expectancy; (3) purposeful interference by the

defendant that prevents the plaintiff’s legitimate expectancy from ripening into a



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valid business relationship; and (4) damages to the plaintiff resulting from such

interference.” Dowd, 181 Ill. 2d at 484.

       The Court sees at least two problems with AbbVie’s tortious interference claim

as it relates to international drug sourcing. First, AbbVie’s complaint alleges that

Payer Matrix interferes with its business relationships “by falsely and misleadingly

marketing new, unapproved versions of purported AbbVie medicines that are illegally

imported from outside the United States as being the same as FDA-approved versions

of AbbVie’s medicines.” [233] ¶ 581 (emphasis added). But, for the reasons just

discussed, AbbVie has not met its burden of clearly showing that the statements

Payer Matrix made with respect to international drug sourcing were false or

misleading. In context, it should be obvious to Payer Matrix’s members that the

imported drugs do not undergo U.S. regulatory processes because they are sourced

from Canadian pharmacies.

       Second, even if the statements were misleading, AbbVie has not met its burden

that it had a reasonable expectation of continued business with the Payer Matrix

members who have received drugs through RxFree4Me. In particular, AbbVie has not

alleged, let alone shown, that if these members were not sourcing their drugs through

RxFree4Me, their plans would have covered AbbVie drugs sourced in the United

States at full (or higher) cost.

       For these reasons, AbbVie is not likely to succeed on the merits of its tortious

interference claim to the extent it relies on Payer Matrix’s facilitation of imported

drugs from Canada.



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               c. IDTPA

         To prevail on an IDTPA claim, AbbVie must show (1) Payer Matrix engaged in

deceptive conduct as defined by the statute; (2) the conduct “creates a likelihood of

confusion or misunderstanding”; and (3) the conduct occurred primarily and

substantially in Illinois. 815 ILCS 510/2. To qualify for injunctive relief under the

IDTPA, AbbVie must also show it was “likely to be damaged” by such false statements

or misrepresentations. 815 ILCS 510/3.

         To support its IDTPA claim, AbbVie relies, in part, on the same two statements

it pointed to in connection with its Lanham Act false advertising claim. See [325] at

54–55 ¶ 44. For the reasons already discussed, these statements are not false or likely

to mislead. And, because they are not false or misleading, AbbVie cannot show it is

“likely to be damaged” by the statements, as required under the statute. 815 ILCS

510/3.

         AbbVie otherwise relies on two additional statements related to drug sourcing

to support its IDTPA claim. [325] at 55 ¶ 45. First, it points to a statement Payer

Matrix makes in its RxFree4Me patient authorization forms that refers to the source

of international drugs as “authorized pharmacies and/or government approved

dispensaries located in Canada.” Id. at 55 ¶ 47; PX132 at 1. This statement makes

clear that the drugs are sourced from Canadian pharmacies. Thus, a reasonable

consumer would assume that the statement refers to the fact that the pharmacies

and dispensaries are authorized and approved for sale by the Canadian government.

AbbVie faces a very low risk of reputational harm from this statement.



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      Second, AbbVie points to a fax template Payer Matrix sends to providers

asking them to send the member’s prescription information to RxFree4Me. [325] at

55 ¶ 46; PX22. The template says in small font that RxFree4Me is an “international

pharmacy.” PX22 at 1. All parties agree that RxFree4Me is not technically an

“international pharmacy.” [322] at 398:3–10; [325] ¶ 93. Viewed in context, however,

this statement is not likely to create confusion. Just below the statement that

RxFree4Me is an “international pharmacy,” the template instructs the doctor to send

the information to “Lenox Community Pharmacy” in Lenox, Michigan. PX22 at 1. In

addition, the patient authorization form (which is included with the fax) says that

the form governs all sales of products from “RxFree4Me’s authorized pharmacies

and/or government approved dispensaries located in Canada.” Id. at 2 (emphasis

added). Based on these additional statements, a provider receiving the fax form would

reasonably conclude that RxFree4Me is not itself a pharmacy. In any case, besides

the reputational concerns it has related to importation more broadly, AbbVie has not

explained how the specific representation that RxFree4Me is an “international

pharmacy” stands to hurt AbbVie. For example, it has not explained why it matters

whether RxFree4Me or some other entity is the “international pharmacy” sourcing

the specialty drugs. The fax template cannot support AbbVie’s IDTPA claim.

      In sum, AbbVie has not identified a deceptive practice likely to confuse or

mislead that would support a likelihood of success on its IDTPA claim as it relates to

Payer Matrix’s international drug sourcing conduct.




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      2. Irreparable Harm

      Because AbbVie has not shown a likelihood of success on the merits of its

Lanham Act claim based on the alleged drug sourcing activities, there is no

presumption of irreparable harm in favor of AbbVie. See Bidi Vapor, LLC v. Vaperz

LLC, 543 F. Supp. 3d 619, 624 (N.D. Ill. 2021). And in any event, the Court concludes

that there has been no showing of irreparable harm in connection with the

international drug sourcing at all.

      Here, AbbVie bases its irreparable harm argument on the potential

reputational harm AbbVie could experience related to the international sourcing

program as a whole. For example, Najjar testified as to concerns with counterfeit

products and the potential harm if AbbVie’s medicines are not kept at the proper

temperature during shipment. [325] at 22 ¶ 83; see also [321] at 59:25–61:7. However,

even accepting that these concerns are legitimate, the irreparable harm supporting a

preliminary injunction must be tied to the allegedly unlawful conduct asserted in the

complaint. Int’l Kennel Club of Chicago, Inc. v. Mighty Star, Inc., 846 F.2d 1079, 1094

(7th Cir. 1988) (“[T]he scope of injunctive relief must not exceed the extent of the

plaintiff’s protectible rights.”). Here, although AbbVie asserts that the scheme

violates the FDCA, see [233] ¶ 747–81, AbbVie does not (and cannot) challenge the

existence of the international sourcing scheme as a whole. See Benson v. Fannie May




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Confections Brands, Inc., 944 F.3d 639, 645 (7th Cir. 2019) (the “FDCA does not create

a private right of action”).8

       In the drug sourcing context, this means that AbbVie’s irreparable harm must

stem from the allegedly false or misleading statements Payer Matrix has made with

respect to the international sourcing program. But besides its broader reputational

concerns about patient safety, AbbVie does not explain how it will be irreparably

harmed by these particular statements. In any case, the Court sees irreparable harm

as unlikely given its earlier findings that the challenged statements are not false or

likely to mislead members of the public.

       In sum, AbbVie has not established irreparable harm from Payer Matrix’s

statements related to the international drug sourcing program. As discussed

throughout the analysis above, none of the statements AbbVie relies on is false or

likely to mislead. Without such a showing, AbbVie cannot show it will be irreparably

harmed in the absence of a preliminary injunction.

                                               ***

       Although the Court primarily bases its decision in the analysis set forth above,

it makes two final observations. First, “[t]iming bears heavily upon the irreparable

harm analysis,” and “a significant delay in filing a motion for preliminary injunction




8 In a similar vein, even if the Court were to enter a preliminary injunction based on Payer

Matrix’s international sourcing program, the injunction would be limited in scope to address
only the allegedly illegal conduct that forms the basis of AbbVie’s legal claims. Here, that
means the injunction would enjoin only the alleged misrepresentations underlying AbbVie’s
Lanham Act, IDTPA, and tortious interference claims. It would not, as AbbVie suggests in
its proposed preliminary injunction order, result in halting Payer Matrix’s involvement with
international drug sourcing altogether.
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undermines the moving party’s argument that it will suffer irreparable harm without

an injunction.” Arjo, Inc. v. Handicare USA, Inc., No. 18 C 2554, 2018 WL 5298527,

at *9 (N.D. Ill. Oct. 25, 2018) (citing Traffic Tech Inc. v. Kreiter, No. 14-cv-7528, 2015

WL 9259544, at *17 (N.D. Ill. Dec. 18, 2015)). It has been over three years since

Hayden recommended barring AFPs from applying to AbbVie’s PAP and nearly two

years since AbbVie filed this lawsuit. That so much time has already passed suggests

that AbbVie and its PAP can endure whatever additional time it takes to see this

litigation through.

      Second, the Court acknowledges AbbVie’s position that, absent judicial

intervention, Payer Matrix simply will not stop unlawfully interfering with AbbVie’s

business in some form or another—indeed, that Payer Matrix’s very business model

depends on it successfully skirting the law. See, e.g., [321] at 6:1–8:1 (arguing that

“Payer Matrix will not stop” and that “AbbVie is always one step behind”); [323] at

429:17–25 (“Payer Matrix has shown in multiple ways for years … that it cannot be

trusted to refrain from conduct that harms AbbVie”); id. at 519:10–12 (arguing that

“Payer Matrix [is] continuing to do more and AbbVie [is] always playing catch-up”).

At the end of the day, however, AbbVie has not met its burden to show that any one

of Payer Matrix’s activities is ongoing and likely unlawful, let alone that Payer Matrix

has engaged in a more systematic effort to hurt AbbVie. Ultimately, “such speculation

does not rise to the level of irreparable harm that would justify the intervention of a

federal court.” Stroman Realty, Inc. v. Martinez, 505 F.3d 658, 664 (7th Cir. 2007).




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                                  CONCLUSION

      For the reasons set forth above, AbbVie’s motion for a preliminary injunction

is denied.



                                             ___________________________
                                             Georgia N. Alexakis
                                             United States District Judge

Date: 4/14/25




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